Case 1:13-md-02475-ALC Document 156 Filed 06/03/14 Page 1 of 1

UNETED STATES DISTRICT COUR'E`
SOUTHERN DISTRICT ()F NEW YORK

 

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NOTICE OF CHANGE OF ADDRESS

 

'l`O: ATTORNEY SE.RVICES CLERK AND ALL GTHER PARTEES

g l have cases pending l:l l have no cases pending

Pnrsuant to Loeel Rnle l.3 ofthis Coul't, please take notice oftlle f`ollowing attorney information change (s) for:

linn fv\. eaton

FlLL IN ATTORNEY NAME

My SDNY Bal Number ls: N\_ Q>: B’€ 9"' My State Bar Nulnber' as _§:‘§Ll___ ®§' §§

I inn,

 

An attorney
ll A Govermnent Agency attorney
l:l A Pl'o Hac Viee attorney

FIRM INFORMATION (Inclode full name of`iirm (OLD AND NEW), address, telephone number and fax nutni)er):

oLD FIRM; FIRM NAME; ?€W\Q{`& E\’l'Z/ l»~ l?l:)
FIRM ADDRESS- éOO 711er DJQ)W.)‘&$

FIRM TELEPHONE NUMBBR: T?:,.\ 3-'~ é;é§: §j_ EY*,__
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NEW FiRM; FIRM NAME: N\€:H tt?;.\! Q?C@ LC,
HRM ADDRESS: {_';)DO "€"§\`:r¢§ Q\I@r\d@_ (. plat 11 Cl l\l`{' N§} l@@/é§
FIRM TELEPHONE NUMBER- 14 ‘.1. ’,§"“?") / DQS"
FIRM FA)< NUMBER: §Lt 3-»““ §“7"’> /»f?n§e`fgo

`K l will continue to be counsel of record on the above-entitled case at my new firm/agency.

l:l l am no longer counsel of record on the above-entitled case. An order withdrawing my appearance
was entered on by fndge____

»é/’S!Ml

  

